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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               Feb. 6, 2023
Commodities & Minerals Enterprise Ltd.,
                          Plaintiff,

-against-                                                     16-CV-861-ALC

CVG Ferrominera Orinoco, C.A.,                                ORDER

                               Defendant.


ANDREW L. CARTER, JR., United States District Judge:

       The Clerk of Court is respectfully directed to close this case.

SO ORDERED.




Dated: Feb. 6, 2023
       New York, New York

                                                     ___________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
